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                      Declaration of Plaintiff Giorgi Rtskhiladze



       1. I, Giorgi Rtskhiladze, submit this sworn declaration in support of my application to

review my grand jury testimony and all materials provided to the special prosecutors that

investigated Russian interference in the 2016 presidential election and aver as follows:



       2. In May 2018, I testified for approximately seven hours before the grand jury

investigating Russian interference into the 2016 presidential election. There, I was questioned by

special prosecutor Jeannie Rhee and other members of the Special Counsel Robert Mueller’s

team of prosecutors. Special prosecutor Rhee stridently characterized me to the grand jury as a

Russian from a prominent Russian family and I responded sharply that I was neither Russian by

nationality nor by citizenship. I told prosecutor Rhee unambiguously in front of the grand jury

and other prosecutors in the room that I was born and raised in Georgia by a reputable Georgian

family and that I have resided in the United States since the early 1991. In sum, through my

answers to questioning by the special prosecutors and my testimony before the grand jury the

Mueller team was fully aware that I am a citizen of the United States and a longtime American

businessman who was born in the Republic of Georgia.



       3. Following my testimony before the grand jury I responded to a number of emails

seeking further information.




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       4. I further informed prosecutor Rhee that Georgia and Russia are fierce adversaries

because of Russia’s invasion of Georgia in 2008 and the unlawful occupation of Georgian

territory. This invasion of Georgian sovereignty created a crisis in eastern Europe and the United

States played a critical role in reducing tensions between the two nations. I also emphasized that

since the Russian invasion of Georgia, I, as a Georgian American, have dedicated myself to

fostering mutually beneficial ties between the United States and Georgia through commercial,

cultural, and philanthropic endeavors.



       5. During questioning by the special prosecutor I made clear that I had no personal

knowledge of the purported, compromising tapes of Donald J. Trump supposedly held in Russia.

I explained that the only information I possessed was the result of a discussion with a colleague,

who while dining overheard a conversation by unknown persons at a nearby table talking about

compromising tapes. I unequivocally told the special prosecutor that I informed Michael Cohen,

then the personal lawyer to the presidential candidate Trump, about this gossip because my

business partners in Georgia and I were working on a Trump real estate project in Georgia. This

kind of gossip would not reflect well on the Trump brand, and I concluded that Trump, through

Cohen, should be aware of the rumor.



     6. I testified that I took no actions of any kind to attempt to verify the existence or

authenticity of the purported tapes and, therefore, could not have taken steps to suppress them. I

told the special prosecutor that my text exchange with Cohen was an isolated incident in which I

passed along for business reasons a potentially embarrassing rumor. Following that exchange I


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have not discussed the subject of the text exchange with Cohen or anybody else associated with

the Trump Organization.



     7. I believe that my grand jury transcript and subsequent responses to follow-up emails will

support these attestations.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.

_______________________
Giorgi Rtskhiladze

Dated: October ___, 2021




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